Case 09-29123-mkn   Doc 1397-3   Entered 01/07/22 15:11:14   Page 1 of 10




                           Ex. ‘3’
    Case 09-29123-mkn       Doc 1397-3     Entered 01/07/22 15:11:14      Page 2 of 10




                               The Law Offices of
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                                                        November 24, 2021

Greg Campbell, Esq.
Aldridge Pite LLP
4375 Jutland Drive
P.O. Box 17933
San Diego, CA 92177-0933
gcampbell@aldridgepite.com

      RE: Melanie Schulte
      Loan: ending 6861
      BK Case No.: 09-29123-MKN
      Address: 1392 Echo Falls Ave., Las Vegas, NV 89123

Mr. Campbell:

      I am in receipt of Shellpoint’s Supplemental Response to Schulte’s First Set of
Request for Production of Documents and Interrogatories sent on November 12, 2021. But
as of todays date, I still have not received sufficient discovery documents and responses
from Shellpoint. These include the following:


      First Request For Production of Documents:
Request for Production of Documents Number 5:
      A print out of all calls Shellpoint made to, or received, from Schulte’s since it took
over servicing of the loan regarding the real property located at 1392 Echo Falls Ave.,
Las Vegas Nevada 89123.
Response::
      Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the


                                             1
    Case 09-29123-mkn        Doc 1397-3    Entered 01/07/22 15:11:14      Page 3 of 10




Shellpoint. The request is calculated to annoy and harass Shellpoint. Debtor may create her
own call log based on her records. Shellpoint has no duty to create or modify responsive
documents for the Debtor.
        Objection: Equally Available - The information sought in this request is equally
available to the Debtor. Specifically, Debtor may review her own phone records and/or call
logs.


*Notwithstanding the above objections, Shellpoint is still researching whether it made any
calls to the Debtor regarding the Subject Loan or Property. Discovery is ongoing. If
Shellpoint locates a call log, it will produce the document. However, as of date of this
Response, no such document exists and Shellpoint cannot simply “provide a computer
printout” of the call log as asserted by the Debtor. Notably, Shellpoint requested the same
document from the Debtor in its Request for Production of Documents, and Debtor failed
to produce the same (See RPD 39). Why is the Debtor’s Request less burdensome than
Shellpoint’s Request for the same documents?


Reply:
        Shellpoint keeps these types of records in the ordinary course of its business.
Further, it easier for Shellpoint to produce these records from its data base. And Shellpoint
is required by federal law to maintain and retain these records. To the extent Shellpoint
does not retain such records regarding the calls it makes or receives while servicing a loan
please state that.


Request for Production of Documents Number 6:
        A copy of Shellpoint’s call log, both incoming and outgoing, related to Schulte and
the property located at 1392 Echo Falls Ave., Las Vegas Nevada 89123, since taking over the
servicing of this loan.


Response:
        Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the


                                             2
    Case 09-29123-mkn        Doc 1397-3     Entered 01/07/22 15:11:14      Page 4 of 10




Shellpoint. The request is calculated to annoy and harass Shellpoint. Debtor may create her
own call log based on her records. Shellpoint has no duty to create or modify responsive
documents for the Debtor.
        Objection: Equally Available - The information sought in this request is equally
available to the Debtor. Specifically, Debtor may review her own phone records and/or call
logs.
        Objection: Asked and Answered, Repetitive. This discovery request has, in
substance, been previously propounded and responded as explained in Shellpoint’s above
responses.


*Notwithstanding the above objections, Shellpoint is still researching whether it made any
calls to the Debtor regarding the Subject Loan or Property. Discovery is ongoing. If
Shellpoint locates a call log, it will produce the document. However, as of date of this
Response, no such document exists and Shellpoint cannot simply “provide a computer
printout” of the call log as asserted by the Debtor. Notably, Shellpoint requested the same
document from the Debtor in its Request for Production of Documents, and Debtor failed
to produce the same (See RPD 39). Why is the Debtor’s Request less burdensome than
Shellpoint’s Request for the same documents?


Reply:
        Shellpoint keeps these types of records in the ordinary course of its business.
Further, it easier for Shellpoint to produce these records from its data base. And, Shellpoint
is required by federal law to maintain and retain these records. To the extent Shellpoint
does not retain such records regarding the calls it makes or receives while servicing a loan
please state that.


Request for Production of Documents Number 7:
        A list of all phone numbers Shellpoint has on Schulte.


Response::
        * Shellpoint is still researching which phone numbers it has on record for the Debtor.
Discovery is ongoing


                                              3
    Case 09-29123-mkn        Doc 1397-3    Entered 01/07/22 15:11:14      Page 5 of 10




Reply:
       Shellpoint keeps these types of records in the ordinary course of its business.
Further, it easier for Shellpoint to produce these records from its data base. And,
Shellpoint is required by federal law to maintain and retain these records. To the extent
Shellpoint does not retain such records regarding the calls it makes or receives while
servicing a loan please state that.


Request for Production of Documents Number 8:
       A list of the fees Shellpoint has been paid on the loan at 1392 Echo Falls Ave., Las
Vegas Nevada 89123 since it took over servicing and how they were calculated.


Response::
       Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Shellpoint has no duty
to create or modify responsive documents for the Debtor.
       Objection: Vague and Ambiguous - Shellpoint objects to this Request on the grounds
that it is vague and ambiguous. In particular, the term “fees” is not defined such that
Shellpoint would have enough information to provide an informed response.
       *Please provide additional information and clarification regarding which “fees”
Debtor is referring to. Shellpoint incurs many fees in the course of business from various
vendors, entities, governmental agencies, tax authorities, etc.


Reply:
       “Fees” refers to the amount of money Shellpoint has received from servicing the
mortgage payments made by Schulte since it began servicing the loan for 1392 Echo Falls
Ave., Las Vegas Nevada 89123 in August 2015.


Request for Production of Documents Number 9:
       All of Shellpoint’s Policy and Procedures Manuals from 2015 to 2021.
Response:


                                             4
    Case 09-29123-mkn       Doc 1397-3     Entered 01/07/22 15:11:14      Page 6 of 10




       Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint.
       Objection: Relevance – This Request is not relevant to any contested matter and is
not reasonably calculated to lead to the discovery of admissible evidence related to any
contested issue.
       Objection: Proprietary/Confidential Information - This discovery request attempts
to obtain confidential/proprietary information of Shellpoint.
       Objection: Vague and Ambiguous - Shellpoint objects to this Request on the grounds
that it is vague and ambiguous. In particular, the term “Policy and Procedures Manuals” is
not defined such that Shellpoint would have enough information to provide an informed
response.
       *This Request is extremely overbroad and vague. Limiting the Request to “Policy and
Procedure Manuals for Bankruptcy cases” does not adequately limit the scope of the
Request. Moreover, Shellpoint asserts any such documents contain confidential/proprietary
information of Shellpoint. Consequently, Shellpoint cannot respond substantively to this
request.
Reply:
       This Request is a simple turnover of Shellpoint’s Policy and Procedures Manuals for
handling bankruptcy cases for the years 2015 to 2021. To the extent Shellpoint has no Policy
and Procedure Manual for handling bankrutcy case those years please specifically state that.
Otherwise, please produce them.


Request for Production of Documents Number 10:
       A list of any calls between Shellpoint and Schulte where a recording was made.


Response::
       Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Shellpoint has no duty


                                             5
    Case 09-29123-mkn       Doc 1397-3     Entered 01/07/22 15:11:14      Page 7 of 10




to create or modify responsive documents for the Debtor.
       *Notwithstanding the above objections, Shellpoint is still researching whether it
made any calls to the Debtor regarding the Subject Loan or Property. Discovery is ongoing.
If Shellpoint locates a call log, it will produce the document. However, as of date of this
Response, no such document exists and Shellpoint cannot simply “provide a computer
printout” of the call log as asserted by the Debtor. Notably, Shellpoint requested the same
document from the Debtor in its Request for Production of Documents, and Debtor failed
to produce the same (See RPD 39). Why is the Debtor’s Request less burdensome than
Shellpoint’s Request for the same documents?


Reply:
       Shellpoint keeps these types of records in the ordinary course of its business.
Further, it easier for Shellpoint to produce these records from its data base. And,
Shellpoint is required by federal law to retain these records. To the extent Shellpoint
does not retain such records regarding the calls it makes or receives while servicing a
loan please state that.


Request for Production of Documents Number 11:
       Produce any recordings made of calls between Schulte and Shellpoint.


Response:
       Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint.
       *Notwithstanding the above objections, Shellpoint is still researching whether it
made any calls to the Debtor regarding the Subject Loan or Property. Discovery is ongoing.
If Shellpoint locates a call recording, it will produce the recording. However, as of date of
this Response, no such recording exists and Shellpoint cannot simply “provide a computer
printout” of the recording as asserted by the Debtor. Notably, Shellpoint requested the same
document from the Debtor in its Request for Production of Documents, and Debtor failed
to produce the same (See RPD 39). Why is the Debtor’s Request less burdensome than


                                             6
    Case 09-29123-mkn        Doc 1397-3      Entered 01/07/22 15:11:14       Page 8 of 10




Shellpoint’s Request for the same documents?


Reply:
        Shellpoint keeps these types of records in the ordinary course of its business.
Further, it easier for Shellpoint to produce these records from its data base. And, Shellpoint
is required by federal law to retain these records. To the extent Shellpoint does not retain
such records regarding the calls it makes or receives while servicing a loan please admit to
that.


Request for Production of Documents Number 16:
        Provide a list of codes and their meaning in relation to the electronic data base for
Schulte’s loan on the properly located at 1392 Echo Falls Ave., Las Vegas Nevada 89123
from the time Shellpoint took over servicing of the loan.
Response:
        Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Shellpoint has no duty
to create or modify responsive documents for the Debtor.
        Objection: Vague and Ambiguous - Shellpoint objects to this Request on the grounds
that it is vague and ambiguous. In particular, the term “electronic data base” and “codes”
are not defined.
        *To the extent Debtor is confused regarding the meaning of a specific notation in the
log, Shellpoint will provide clarification to the Debtor upon request.


Reply:
        The point of discovery is to receive the requested documents and information prior
to discovery ending, to prepare for depositions and save time at trial. Here, Shellpoint is
being asked to provide a list of codes that it uses in relation to any electronic entry it makes
on a loan it services. Such request is appropriate and expected.




                                               7
    Case 09-29123-mkn       Doc 1397-3     Entered 01/07/22 15:11:14     Page 9 of 10




Request for Production of Documents Number 17:
       Provide any log notes or communication notes regarding Schulte and the property
located at 1392 Echo Falls Ave., Las Vegas Nevada 89123 from the time Shellpoint took over
servicing of the loan.


Response:
       Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Shellpoint has no duty
to create or modify responsive documents for the Debtor.
       Objection: Attorney-Client Privilege, Attorney Work-Product Protection - The
request seeks information subject to the attorney-client privilege. The attorney-client
privilege is broadly construed, and extends to “factual information” and “legal advice.”
Further, this discovery request seeks attorney work product.
       Objection: Vague and Ambiguous - Shellpoint objects to this Request on the grounds
that it is vague and ambiguous. In particular, the term “log notes” is not defined.
       *Notwithstanding the above objections, Shellpoint produced the internal servicing
log/notes for the Subject Loan in its possession on November 2, 2021. (SP 2750 – SP 2799).


Reply:
       The documents Shellpoint provided (SP2750 –SP 2799) do not comply with Schultes
request. Shellpoint has an internal computer data base on every loan it services. This
includes contacts with the client, whether by letter or mail. And a computer data base
regarding payments received, payments owed, how these payments are credited, and any
complaints or problems a customer has made, as required by federal law. Please provide
that entire computer printout of such contact in relation to Schulte’s loan for 1392 Echo
Falls Ave., Las Vegas Nevada 89123.
       In the alternative, if Shellpoint is stating that the documents listed in
(SP2750–SP2799) is the only information it keeps in relation to servicing Shulte’s loan at
1392 Echo Falls Ave., Las Vegas Nevada 89123 please admit to that.



                                             8
Case 09-29123-mkn   Doc 1397-3   Entered 01/07/22 15:11:14   Page 10 of 10
